         Case 3:19-cv-06361-RS          Document 455      Filed 06/13/24     Page 1 of 10



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 6                                                    Ronald Sugar, Ursula Burns, Garrett Camp, Matt
                                                      Cohler, Ryan Graves, Arianna Huffington, Travis
 7                                                    Kalanick, Wan Ling Martello, Yasir Al-Rumayyan,
                                                      John Thain, and David Trujillo
 8

 9   [Additional Counsel Listed on Signature Pages]

10

11                                 UNITED STATES DISTRICT COURT

12                               NORTHERN DISTRICT OF CALIFORNIA

13                                       SAN FRANCISCO DIVISION

14                                                      Case No. 3:19-cv-06361-RS
     BOSTON RETIREMENT SYSTEM,
15                                                      JOINT STIPULATION AND
                           Plaintiff,                   [PROPOSED] ORDER TO CONTINUE
16                                                      STAY OF CASE MANAGEMENT
                    v.                                  DEADLINES AND ADJOURN STATUS
17                                                      CONFERENCE
     UBER TECHNOLOGIES, INC., et al.,
18                                                      Courtroom:      No. 3 – 17th Floor
                           Defendants.                  Judge:          Hon. Richard Seeborg
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     JOINT STIP. AND [PROP.] ORDER TO                                         Case No. 3:19-cv-06361-RS
     CONTINUE STAY OF CASE MANAGEMENT
     DEADLINES AND ADJOURN STATUS CONFERENCE
         Case 3:19-cv-06361-RS          Document 455        Filed 06/13/24      Page 2 of 10



 1          Pursuant to Local Rule 6-2, Lead Plaintiff Boston Retirement System (“Lead Plaintiff”) and

 2   named plaintiffs David Messinger, Salvatore Toronto on behalf of the Ellie Marie Toronto ESA,

 3   Irving S. and Judith Braun, and Joseph Cianci (together with Lead Plaintiff, the “Plaintiffs”) and

 4   Defendants Uber Technologies, Inc. (“Uber”), Dara Khosrowshahi, Nelson Chai, Glen Ceremony,

 5   Ronald Sugar, Ursula Burns, Garrett Camp, Matt Cohler, Ryan Graves, Arianna Huffington, Travis

 6   Kalanick, Wan Ling Martello, Yasir Al-Rumayyan, John Thain, and David Trujillo (the “Individual

 7   Defendants” and together with Uber, the “Uber Defendants”), as well as Defendants Morgan

 8   Stanley & Co. LLC, Goldman Sachs & Co. LLC, Merrill Lynch, Pierce, Fenner & Smith

 9   Incorporated, Barclays Capital Inc., Citigroup Global Markets Inc., Allen & Company LLC, RBC

10   Capital Markets, LLC, SunTrust Robinson Humphrey, Inc. now known as Truist Securities, Inc.,

11   Deutsche Bank Securities Inc., HSBC Securities (USA) Inc., SMBC Nikko Securities

12   America, Inc., Mizuho Securities USA LLC, Needham & Company, LLC, Loop Capital Markets

13   LLC, Siebert Cisneros Shank & Co., L.L.C.,1 Academy Securities, Inc., BTIG, LLC, Canaccord

14   Genuity LLC, CastleOak Securities, L.P., Cowen and Company, LLC, Evercore Group L.L.C., JMP

15   Securities LLC, Macquarie Capital (USA) Inc., Mischler Financial Group, Inc., Oppenheimer

16   & Co. Inc., Raymond James & Associates, Inc., William Blair & Company, L.L.C., The Williams

17   Capital Group, L.P., and TPG Capital BD, LLC (the “Underwriter Defendants” and, together with

18   the Uber Defendants, “Defendants”) (collectively, the “Parties”) respectfully submit the following

19   stipulated request to continue the stay of operative deadlines in this action while the Parties continue

20   to negotiate a settlement agreement and to adjourn the upcoming June 20 case management

21   conference:

22          WHEREAS, Plaintiffs and the Uber Defendants engaged in mediation on March 28, 2024;

23          WHEREAS, on April 24, 2024, the Parties informed the Court that they are negotiating a

24   settlement agreement and submitted a stipulated request to stay the operative deadlines in the action

25   in order to provide them time to negotiate the settlement (ECF No. 451);

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      In November 2019, The Williams Capital Group, L.P. merged with Siebert Cisneros Shank & Co.,
28   L.L.C. and the surviving entity was renamed Siebert Williams Shank & Co., LLC.
     JOINT STIP. AND [PROP.] ORDER TO             -1-                      Case No. 3:19-cv-06361-RS
     CONTINUE STAY OF CASE MANAGEMENT
     DEADLINES AND ADJOURN STATUS CONFERENCE
         Case 3:19-cv-06361-RS          Document 455        Filed 06/13/24      Page 3 of 10



 1          WHEREAS, on April 24, 2024, the Court granted the stay of operative deadlines and

 2   ordered the Parties to provide an update to the Court within 60 days of that order, i.e., by June 24,

 3   2024 (ECF No. 452);

 4          WHEREAS, on April 24, 2024, the Court continued the case management conference

 5   previously scheduled for May 2, 2024 to June 20, 2024 and ordered that an amended case

 6   management statement be submitted by June 13, 2024 (ECF No. 453);

 7          WHEREAS, the Parties require additional time to negotiate the terms of a settlement

 8   agreement resolving this litigation and, provided they successfully do so, Plaintiffs require time to

 9   prepare and file a motion for preliminary approval of the settlement;

10          WHEREAS, the Parties wish to conserve the Court’s and their own resources by continuing

11   the stay of the operative deadlines in this action while they continue to negotiate the settlement;

12          THE PARTIES HEREBY STIPULATE AND REQUEST THAT:

13              1) The Court continue the stay of the operative deadlines in this action through at least

14                  July 19, 2024. By that date, Plaintiffs shall file the settlement agreement with the

15                  Court, as well as a motion for preliminary approval of the Settlement, or, if the

16                  settlement is not reached, the Parties will further advise the Court as to proposed

17                  updated operative deadlines.

18              2) The Court adjourn the case management conference currently scheduled for June 20,

19                  2024 to July 25, 2024 or a date soon thereafter that may be convenient for the Court.

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     JOINT STIP. AND [PROP.] ORDER TO  -2-                                       Case No. 3:19-cv-06361-RS
     CONTINUE STAY OF CASE MANAGEMENT
     DEADLINES AND ADJOURN STATUS CONFERENCE
        Case 3:19-cv-06361-RS   Document 455      Filed 06/13/24     Page 4 of 10



 1
                                 Respectfully submitted,
 2

 3   Dated:   June 13, 2024      LABATON KELLER SUCHAROW LLP
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 4                               Alfred L. Fatale III (admitted pro hac vice)
                                 Joseph N. Cotilletta (admitted pro hac vice)
 5                               Beth C. Khinchuk (admitted pro hac vice)
                                 Charles J. Stiene (admitted pro hac vice)
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     JOINT STIP. AND [PROP.] ORDER TO  -3-                            Case No. 3:19-cv-06361-RS
     CONTINUE STAY OF CASE MANAGEMENT
     DEADLINES AND ADJOURN STATUS CONFERENCE
       Case 3:19-cv-06361-RS   Document 455     Filed 06/13/24       Page 5 of 10



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     JOINT STIP. AND [PROP.] ORDER TO  -4-                           Case No. 3:19-cv-06361-RS
     CONTINUE STAY OF CASE MANAGEMENT
     DEADLINES AND ADJOURN STATUS CONFERENCE
       Case 3:19-cv-06361-RS   Document 455     Filed 06/13/24   Page 6 of 10



 1                              Irving S. and Judith Braun
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     JOINT STIP. AND [PROP.] ORDER TO  -5-                       Case No. 3:19-cv-06361-RS
     CONTINUE STAY OF CASE MANAGEMENT
     DEADLINES AND ADJOURN STATUS CONFERENCE
        Case 3:19-cv-06361-RS   Document 455     Filed 06/13/24     Page 7 of 10



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15                               Sugar, Ursula Burns, Garrett Camp, Matt Cohler, Ryan
                                 Graves, Arianna Huffington, Travis Kalanick, Wan Ling
16                               Martello, Yasir Al-Rumayyan, John Thain, and David
                                 Trujillo
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     JOINT STIP. AND [PROP.] ORDER TO  -6-                           Case No. 3:19-cv-06361-RS
     CONTINUE STAY OF CASE MANAGEMENT
     DEADLINES AND ADJOURN STATUS CONFERENCE
        Case 3:19-cv-06361-RS   Document 455     Filed 06/13/24    Page 8 of 10



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20                               Securities USA LLC, Needham & Company, LLC, Loop
                                 Capital Markets LLC, Siebert Cisneros Shank & Co.,
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                                 Genuity LLC, CastleOak Securities, L.P., Cowen and
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                                 Group, Inc., Oppenheimer & Co. Inc., Raymond James &
24                               Associates, Inc., William Blair & Company, L.L.C., The
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     JOINT STIP. AND [PROP.] ORDER TO  -7-                          Case No. 3:19-cv-06361-RS
     CONTINUE STAY OF CASE MANAGEMENT
     DEADLINES AND ADJOURN STATUS CONFERENCE
        Case 3:19-cv-06361-RS      Document 455     Filed 06/13/24    Page 9 of 10



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 2                                          * * *

 3   PURSUANT TO STIPULATION, IT IS SO ORDERED.
 4

 5   Dated: ______________, 2024                  Richard Seeborg
                                                  Chief United States District Judge
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     JOINT STIP. AND [PROP.] ORDER TO  -8-                             Case No. 3:19-cv-06361-RS
     CONTINUE STAY OF CASE MANAGEMENT
     DEADLINES AND ADJOURN STATUS CONFERENCE
        Case 3:19-cv-06361-RS           Document 455         Filed 06/13/24       Page 10 of 10



 1                                           ECF ATTESTATION

 2          Pursuant to Civil L.R. 5-1(i)(3), the filer attests that concurrence in the filing of this

 3   document has been obtained from each of the other signatories thereto.

 4

 5   Executed on June 13, 2024                                   /s/   Daniel H.R. Laguardia
                                                                       Daniel H.R. Laguardia
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     JOINT STIP. AND [PROP.] ORDER TO  -9-                                         Case No. 3:19-cv-06361-RS
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